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                                       UNITED STATES DISTRICT COURT
                                        MIDDLE DISTRICT OF FLORIDA
                                           Bryan Simpson United States Courthouse
                                             300 North Hogan Street Suite 9-150
                                                 Jacksonville, Florida 32202
                                                       (904) 549-1900
                                                   www.flmd.uscourts.gov
Elizabeth M. Warren                                                                                     Jim Leanhart
Clerk of Court                                                                        Jacksonville Division Manager

UNITED STATES OF AMERICA

VS.                                                             CASE NO: 3:22-cr-23-BJD-MCR

AARON ZAHN


                                  NOTICE OF SURRENDERED U.S. PASSPORT

To:     U.S. Department of State
        CA/PPT/L/LA
        44132 Mercure Circle
        PO Box 1227
        Sterling, VA 20166-1227


       PURSUANT to the Court’s order entered on March 8, 2022 in the above styled case, the Defendant’s
passport, Number          4446 was surrendered to the custody of the Clerk of Court on March 25, 2022. The
defendant is not permitted to apply for the issuance of another passport during the pendency of this action.

                          Defendant’s date of birth:

                          Defendant’s place of birth:        Minnesota, USA

                          Passport received from:             Eduardo A. Suarez

                          Passport issued to:                Aaron Fredrick Zahn

                          Date of issuance:                   June 8, 2018


                                                                 ELIZABETH M. WARREN, CLERK

                                                                 By Barbara Rothermel
                                                                 Barbara Rothermel, Deputy Clerk
March 25, 2022

Original to Case File
c:       Counsel and Unrepresented Defendant
         Pretrial Services (if before Judgment)
         Probation Office (if after Judgment)
         Appropriate Agency Listed Above
         Passport Coordinator
